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 6 Attorneys for Plaintiff
   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 2:15-CR-00190-MCE
12                               Plaintiff,            STIPULATION AND ORDER REGARDING
                                                       BRIEFING SCHEDULE ON DEFENDANT’S
13                         v.                          MOTION FOR REDUCTION IN SENTENCE AND
                                                       COMPASSIONATE RELEASE
14   LAURA MARIE PEZZI,
15                               Defendant.
16

17                                                 STIPULATION
18          1.     Defendant Laure Marie Pezzi filed a motion for reduction in sentence and compassionate
19 release on August 10, 2020. Docket No. 587. The government’s response was due by August 19, 2020,

20 and any reply due August 26, 2020. Docket No. 591. Government counsel requests additional time to

21 obtain records and draft the response brief.

22          2.     Counsel for the defendant does not oppose this request.
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 1         3. Accordingly, by this stipulation, the parties now request that:

 2                a)      The government’s opposition or response to defendant’s motion, Docket No. 587,

 3 be due on August 31, 2020; and

 4                b)      The defense reply, if any, will be due on September 8, 2020.

 5

 6         IT IS SO STIPULATED.

 7
                                                         McGREGOR W. SCOTT
 8                                                       United States Attorney
 9   Dated: August 20, 2020
                                                         /s/ Audrey B. Hemesath
10                                                       AUDREY B. HEMESATH
                                                         Assistant United States Attorney
11

12
     Dated: August 20, 2020                              /s/ Toni L. White
13                                                       TONI L.WHITE
                                                         Counsel for Defendant
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 1                                                 ORDER

 2         Based upon the stipulation and representations of the parties, the Court adopts the proposed

 3 revised briefing schedule as follows:

 4                 a)     The government’s opposition or response to defendant’s motion, Docket No. 587,

 5 is due on August 31, 2020;

 6                 b)     The defense reply, if any, will be due on September 8, 2020.

 7         IT IS SO ORDERED.

 8 Dated: August 21, 2020

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